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 7   Attorney for Defendant
     LONNIE TERRELL
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 9
                            IN THE UNITED STATES DISTRICT COURT
10
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
11

12   UNITED STATES OF AMERICA,                                    2:10-cr-0477-LKK
13
                                     Plaintiff,                   REQUEST AND
14                                                                [PROPOSED] ORDER TO
                             vs.                                  EXONERATE BAIL AND
15                                                                TO RECONVEY
     LONNIE TERRELL,                                              PROPERTY
16

17                                   Defendant.
18           Based upon notification that Defendant, Lonnie Terrell, has surrendered to the
19
     Bureau of Prisons to commence his sentence, it is respectfully requested that all property,
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21
     both real property and cash, posted in support of his release be exonerated and be re-

22   conveyed forthwith.
23   Dated: January 3, 2014                        /s/ David W. Dratman
24                                                 DAVID W. DRATMAN
                                                   Attorney for Defendant
25                                                 LONNIE TERRELL
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     REQUEST AND [PROPOSED] ORDER TO EXONERATE BAIL AND TO                                         1
     RECONVEY PROPERTY
        Case 2:10-cr-00477-MCE Document 270 Filed 01/14/14 Page 2 of 2


 1

 2
                                            ORDER

 3           All property, both real property and cash, posted in support of defendant’s release
 4   is ordered exonerated and shall be re-conveyed forthwith.

 5   It is so ordered.

 6   Dated: January 13, 2014.

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     REQUEST AND [PROPOSED] ORDER TO EXONERATE BAIL AND TO                                         2
     RECONVEY PROPERTY
